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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,                              No. 14-30190

v.                                                     Magistrate Judge R. Steven Whalen

CATHERINE TALIERCIO,

               Defendant.
                                            /

                                            ORDER

       On April 25, 2014, I ordered Defendant Catherine Taliercio detained pending trial. For

the reasons stated on the record on April 25, 2014,

       IT IS ORDERED that the United States Marshals Service, or any jail or other detention

facility having custody of the Defendant, shall have her examined by appropriate medical

personnel, and that she be provided with any treatment deemed medically necessary.

       IT IS FURTHER ORDERED that Defendant shall be given a pregnancy test, and that the

results of that test be provided to the Court, to Pretrial Services, and to counsel for both the

Defendant and the government.


Dated: April 25, 2014                           S/R. Steven Whalen
                                                R. STEVEN WHALEN
                                                UNITED STATES MAGISTRATE JUDGE


I hereby certify that a copy of the foregoing document was sent to parties of record on April 25,
2014, electronically and/or by U.S. Mail.
                                              s/Michael Williams
                                              Case Manager for the
                                              Honorable R. Steven Whalen
